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               EXHIBIT A
                PART 3
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                   Game room                  Points             Lo㈂ery             Jackpots                Bonuses             Score         Download Volcano


                       All games                 Popular                   slots                Roule㈂e            Поиск игр

                    Igroso椀⬄       Novoma氀‫ﰄ‬c           Playson   Mega Jack         Aceking      NetEnt         Belatra      Atronic      Playtech     Unicum




                                 check in                                                    GAME ROOM IGROSOFT
                               Email
                                                                      Resident                       Fruit Cocktail                       Island
                               Пароль

                         I accept the terms and condi氀‫ﰄ‬ons
   24/7                  Remember me
SUPPORT




                                   Sign up                        PLAY             DEMO            PLAY             DEMO              PLAY          DEMO


                                   Login with:
                                                                   Crazy Monkey                      Fruit Cocktai...                  Rock Climber

                        I am already registered Login




                                                                  PLAY             DEMO            PLAY             DEMO              PLAY          DEMO



                                                                     Sweet Life                              Keks                     Crazy Monkey 2




                                                                  PLAY             DEMO            PLAY             DEMO              PLAY          DEMO

                                 DOWNLOAD
                                   MORE
                                                                   Lucky Haunter                           Garage                         Pirate




                                                                  PLAY             DEMO            PLAY             DEMO              PLAY          DEMO



                                                                       Gnome




https://vulcan­club­online.com/all­games                                                                                                                          1/11
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                                                                     GAME ROOM NOVOMATIC
                                                PLAY          DEMO

                                                   Book of Ra            Fruit Sensa氀‫ﰄ‬on          Columbus




                                                PLAY          DEMO       PLAY        DEMO      PLAY         DEMO



                                                Columbus Deluxe         Lucky Ladys Charm      Fruits and Sevens




                                                PLAY          DEMO       PLAY        DEMO      PLAY         DEMO



                                                The Money Game          Party Games Slo㈂o   Jackpot Crown Deluxe




   24/7
                                                PLAY          DEMO       PLAY        DEMO      PLAY         DEMO
SUPPORT




                                               Book of Ra Deluxe 6          Cash Farm            Hot Chance




                                                PLAY          DEMO       PLAY        DEMO      PLAY         DEMO



                                                     Sharky               Banana Splash       Just Jewels Deluxe




                                                PLAY          DEMO       PLAY        DEMO      PLAY         DEMO



                                              Bananas go Bahamas          Golden Sevens          Fairy Queen




                                                PLAY          DEMO       PLAY        DEMO      PLAY         DEMO



                                                Book of Ra Deluxe          Marco Polo          Queen of Hearts




https://vulcan­club­online.com/all­games                                                                            2/11
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                                                PLAY            DEMO     PLAY            DEMO   PLAY        DEMO

                                                   Golden Ark              King of cards         Sizzling Hot




                                                PLAY            DEMO     PLAY            DEMO   PLAY        DEMO



                                               Beetle Mania Deluxe      Lucky Ladys Deluxe      Fruits'n Royals




                                                PLAY            DEMO     PLAY            DEMO   PLAY        DEMO



                                               Sizzling Hot Qua㈂ro      Pharaoh's Gold 3         Always Hot




                                                PLAY            DEMO     PLAY            DEMO   PLAY        DEMO



                                                  Flame Dancer               Ultra Hot           Diamond Trio
   24/7
SUPPORT




                                                PLAY            DEMO     PLAY            DEMO   PLAY        DEMO



                                                    Polar Fox          Dolphin's Pearl Deluxe   Roller Coaster




                                                PLAY            DEMO     PLAY            DEMO   PLAY        DEMO



                                                 Dolphin's Pearl          Gryphons Gold         Mermaids Pearl




                                                PLAY            DEMO     PLAY            DEMO   PLAY        DEMO



                                                Lord of the Ocean           Olivers Bar         Mys氀‫ﰄ‬c Secrets




                                                PLAY            DEMO     PLAY            DEMO   PLAY        DEMO



                                               Secrets of the Sand       Ultra Hot Deluxe         Lucky Rose

https://vulcan­club­online.com/all­games                                                                           3/11
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                                                PLAY          DEMO       PLAY          DEMO     PLAY           DEMO


                                                   Safari Heat          Sizzling Hot Deluxe      Pharaohs Ring




                                                PLAY          DEMO       PLAY          DEMO     PLAY           DEMO



                                                 Magic Princess             Ramses 2             Royal Treasures




                                                PLAY          DEMO       PLAY          DEMO     PLAY           DEMO



                                                  Secret Forest         Vene氀‫ﰄ‬an Carnaval              A‫ﳿ‬㈂la




   24/7
                                                PLAY          DEMO       PLAY          DEMO     PLAY           DEMO
SUPPORT




                                               Caribbean Holidays        Dynasty of Ming           Magic Flute




                                                PLAY          DEMO       PLAY          DEMO     PLAY           DEMO



                                                 Pharaoh's Gold           Unicorn Magic




                                                PLAY          DEMO       PLAY          DEMO




                                                                     GAME ROOM PLAYSON
                                                   Odysseus                Lucky Reels           Draculas Family




                                                PLAY          DEMO       PLAY          DEMO     PLAY           DEMO



                                                Merry Christmas        Happy jungle DELUXE    Treasures of Tombs ...



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                                                PLAY           DEMO    PLAY           DEMO   PLAY           DEMO
                                                  Lucky pirates          Fruits n Stars             Taiga




                                                PLAY           DEMO    PLAY           DEMO   PLAY           DEMO



                                                  Magic forest            Aquarium            Zombirthday




                                                PLAY           DEMO    PLAY           DEMO   PLAY           DEMO



                                                 Juice and Fruits        Notre Dames              Blade




   24/7                                         PLAY           DEMO    PLAY           DEMO   PLAY           DEMO
SUPPORT




                                                   Moorhuhn                Aqua氀‫ﰄ‬ca          Eastern Delights




                                                PLAY           DEMO    PLAY           DEMO   PLAY           DEMO



                                                Pirates Treasures     Riches of Cleopatra     Aztec Empire




                                                PLAY           DEMO    PLAY           DEMO   PLAY           DEMO



                                                       Alice              Circus HD            Lucky birds




                                                PLAY           DEMO    PLAY           DEMO   PLAY           DEMO



                                                    Sky Way             Spirit of Aztec      Thunder Reels




                                                PLAY           DEMO    PLAY           DEMO   PLAY           DEMO


https://vulcan­club­online.com/all­games                                                                           5/11
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                                              Treasures of Tombs ...        Wild Hunter         Golden planet




                                                PLAY            DEMO       PLAY         DEMO   PLAY          DEMO




                                                                       MEGA JACK GAME ROOM
                                                Slot‐o‐pol Deluxe            Aztec Gold        Champagne Party




                                                PLAY            DEMO       PLAY         DEMO   PLAY          DEMO



                                                   Slot‐o‐pol




                                                PLAY            DEMO


   24/7

                                                                        GAME ROOM ACEKING
SUPPORT




                                                     Hunter                 Russian Tales         Pyramides




                                                PLAY            DEMO       PLAY         DEMO   PLAY          DEMO



                                                     Cruise                   Cabaret          Wheel of Fortune




                                                PLAY            DEMO       PLAY         DEMO   PLAY          DEMO



                                                  Golden Fiesta             Big City Night          Circus




                                                PLAY            DEMO       PLAY         DEMO   PLAY          DEMO



                                                    Dwarves                 Magic Forest        Sweet Dream




https://vulcan­club­online.com/all­games                                                                            6/11
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                                                PLAY          DEMO      PLAY           DEMO   PLAY          DEMO


                                                  Sheriﬀ's Life          Russian Myth         Diamond Dr...




                                                PLAY          DEMO      PLAY           DEMO   PLAY          DEMO



                                                Li㈂le Green Man         Wheels of Fire       Happy Holiday




                                                PLAY          DEMO      PLAY           DEMO   PLAY          DEMO



                                                   demobee                 Hot Vegas            Dark Side




                                                PLAY          DEMO      PLAY           DEMO   PLAY          DEMO



                                                 Reef Treasures       Diamond Dreams De...       FunZoo
   24/7
SUPPORT




                                                PLAY          DEMO      PLAY           DEMO   PLAY          DEMO



                                                    Samurai               Pre㈂y Hous...         Pirates




                                                PLAY          DEMO      PLAY           DEMO   PLAY          DEMO



                                                 Vikings' Exp...         Arabian Nights        Bon Voyage




                                                PLAY          DEMO      PLAY           DEMO   PLAY          DEMO



                                                    Chicago                Tropicana




                                                PLAY          DEMO      PLAY           DEMO




                                                                     POPULAR GAME ROOM
https://vulcan­club­online.com/all­games                                                                           7/11
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                                                    Resident                Fruit Cocktail            Island




                                                PLAY           DEMO        PLAY          DEMO     PLAY          DEMO



                                                 Crazy Monkey               Fruit Cocktai...       Rock Climber




                                                PLAY           DEMO        PLAY          DEMO     PLAY          DEMO



                                                   Fairy Land                 Sweet Life                 Keks




                                                PLAY           DEMO        PLAY          DEMO     PLAY          DEMO



                                                   Book of Ra              Crazy Monkey 2            Alcatraz

   24/7
SUPPORT




                                                PLAY           DEMO        PLAY          DEMO     PLAY          DEMO



                                                   Gold Party               Lucky Haunter            Garage




                                                PLAY           DEMO        PLAY          DEMO     PLAY          DEMO




                                                                      GAME ROOM NETENT
                                                  Gonzos Quest              Blood Suckers         Jack Hammer 2




                                                PLAY           DEMO        PLAY          DEMO     PLAY          DEMO




                                                                      ROULETTE GAME ROOM
                                                European roule㈂e       The roule㈂e without...   European Ro...




https://vulcan­club­online.com/all­games                                                                               8/11
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                                               PLAY          DEMO      PLAY          DEMO   PLAY        DEMO

                                                European Ro...




                                               PLAY          DEMO




                                                                    GAME ROOM BELATRA
                                                  Fairy Land              Alcatraz            Lucky Drink




                                               PLAY          DEMO      PLAY          DEMO   PLAY        DEMO



                                                   Chukcha




                                               PLAY          DEMO
   24/7
SUPPORT




                                                                    GAME ROOM ATRONIC
                                                 Crazy Fruits




                                               PLAY          DEMO




                                                                    GAME ROOM PLAYTECH
                                                  Iron Man               Night Out              X‐Men




                                               PLAY          DEMO      PLAY          DEMO   PLAY        DEMO



                                                Incredible Hulk            Blade            Desert Treasure




                                               PLAY          DEMO      PLAY          DEMO   PLAY        DEMO



                                                 Dr Lovemore             King Kong


https://vulcan­club­online.com/all­games                                                                       9/11
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                                                                    PLAY               DEMO                PLAY             DEMO

                                                                                                    GAME ROOM UNICUM
                                                                         Gold Party                                lads                               market




                                                                    PLAY               DEMO                PLAY             DEMO                 PLAY            DEMO




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                                                                                 SLOTS VOLCANO
                             SLOT MACHINES TO PLAY FOR FREE                                                                  ROULETTE
                   Game Room Volcano gathered all the best slot machines in the world.            In addi氀‫ﰄ‬on to the usual machines online casino Volcano drew
                   Every casino visitor will ﬁnd in the list of online slots gambling several     a㈂en氀‫ﰄ‬on to the players several types of online roule㈂e:
                   that are his favorite. Our online casino oﬀers visitors a choice of foods
                   world's leading manufacturers of gaming so椀⬄ware:
   24/7
                                                                                                          European roulette                  Roulette 4 tables
                           Igrosoft
                                                                                                          The roulette without zero          VIP roulette
SUPPORT




                                                                          Monkeys
                                                                          Strawberry
                                                                          Resident
                                                                          Island                  Casino Volcano allows you to try every game in demo mode, and to
                                                                          Pirates                 play slot machines for free and without registra氀‫ﰄ‬on. Choosing the
                                                                          Ropes                   slot, the player can immediately determine whether or not he will
                                                                                                  play slot machines for real money or use the trial mode.
                                                                                                  Demo game is no diﬀerent from the standard version of the game
                           Novomatic                                                              machine. It has the same rules and factors, but the winnings, of
                                                                          Books                   course, do not bring a real proﬁt.
                                                                          Columbus                To go beyond the game for the money, you need to register on the site
                                                                          Lady Charm              or enter a previously created Account. Authorized the player is free to
                                                                          Beetles                 do have very real stakes and get real winnings.
                                                                          Bananas go to the ...
                                                                                                  Players can perform all the steps above in the casino applica氀‫ﰄ‬on. It
                                                                          Marco Polo
                                                                                                  carries all the func氀‫ﰄ‬onality of the site, and provides seamless access
                                                                                                  to slot machines and be㈂er protec氀‫ﰄ‬on of personal data and money.
                           Aceking
                                                                          Gold Party                                          JACKPOT
                                                                          Bazaar
                                                                          Arabian Nights
                                                                                                  Slots Volcano par氀‫ﰄ‬cipate in the drawing of several progressive
                                                                          Tale                    jackpots. A set of slots that take part in the draw, as well as the
                                                                          Pyramid                 accumulated sum of winnings can be monitored in a special sec氀‫ﰄ‬on of
                                                                          Pirates                 the site. The main jackpot can be disrupted at any 氀‫ﰄ‬me, regardless of
                                                                                                  the amount bid.

                           Casino Technology                                                                           LOTTERY VOLCANO
                                                     Aztec Gold
                                                     SLOT‐O‐POL                                   Casinos almost always holds various themed lo㈂ery. To take part in
                                                                                                  these events is simple ‐ we need only to play slot machines for money
                                                                                                  at a speciﬁed 氀‫ﰄ‬me. When the sum of the rates will be as high as 500
                                                                                                  rubles A player gets 1 lo㈂ery 氀‫ﰄ‬cket. All terms and condi氀‫ﰄ‬ons of the
                                                                                                  lo㈂ery can be found in the relevant sec氀‫ﰄ‬on.




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                   Game room                 Points             Lo䨃䤃ery                  Jackpots                         Bonuses                                Score   Download Volcano




                                check in                                                              LEVELS AND SCORES
                             Email


                             Пароль                                                          Exchange Rate: Not Available
                        I accept the terms and condi㘃㔃ons
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                        Remember me
                                                                                      POINTS
                                                                                                 0                                    RUBLES
                                                                                                                                                  0
SUPPORT




                                  Sign up                                                                             EXCHANGE
                                 Login with:
                                                                              * To communicate you need to accumulate 10 or more points to be able to exchange
                                                                              ** Also required for the exchange rate higher than the ini㘃㔃al

                        I am already registered Login                                                                                   Redeem points for goods

                                                            Game Volcano Club provides players with lucra㘃㔃ve bonus programs. Loyalty program includes a system
                                                            of incen㘃㔃ve points for ac㘃㔃ve players. Points are added to the player's bonus account and can be used as
                                                            the local currency within the volcano site.

                                                                      6000 RUR rate = 1 point.
                                                            Points ‐ the sum of all bets a player in the online casino. Pu七䴃ng can be diﬀerent amounts, several 㘃㔃mes,
                                                            on diﬀerent slot machines. When a player accumulates a total amount of bids in the amount of 6 000
                                                            rubles, on his bonus account is charged 1 point.


                                                            HOW TO USE CHARGING POINTS:
                                                                      To exchange points for cash. points exchange rate corresponds to your level of
                                                                      casino player Volcano.
                                     MORE
                                                                      Exchange awarded points for exclusive products in the Store Vulcan.

                                                            The number of points in the account aﬀects the player's level. Player Level increases the rate of
                                                            exchange points. With each increase in the level of the player to open the new exclusive products to buy
                                                            in the Volcano Store.


                                                                          diamond level
                                                                          You need: 6000 points
                                                                          Exchange rate: 10 points = 570 rubles
                                                                                                                                                                         not reached
                                                                                                             Addi㘃㔃onal Features




                                                                          Pla㘃㔃num level
                                                                          You need: 5000 points
                                                                          Exchange rate: 10 points = 450 rubles
                                                                                                                                                                         not reached
                                                                                                             Addi㘃㔃onal Features

https://vulcan­club­online.com/points                                                                                                                                                       1/3
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                                                                                Gold level
                                                                                You need: 500 points
                                                                                Exchange rate: 10 points = 300 rubles
                                                                                                                                                               not reached
                                                                                                            Addi㘃㔃onal Features




                                                                                Silver level
                                                                                You need: 50 points
                                                                                Exchange rate: 10 points = 200 rubles
                                                                                                                                                               not reached
                                                                                                            Addi㘃㔃onal Features




                                                                                Bronze level
                                                                                You need: 10 points
                                                                                Exchange rate: 10 points = 100 rubles
                                                                                                                                                               not reached
                                                                                                            Addi㘃㔃onal Features




                                                                                First level
                                                                                You need: 0 points
   24/7                                                                         Exchange rate: not available
                                                                                                                                                                 Current
                                                                                                            Addi㘃㔃onal Features
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